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1

2                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
3

4                                                        No. 3:18-cv-5931

5    DANIEL MITCHELL, ROBIN BALL, LUKE
     RETTMER, ARMEN TOOLOEE,                             COMPLAINT FOR DECLARATORY
6    NATHANIEL CASEY, MATTHEW WALD,                      AND INJUNCTIVE RELIEF
     SECOND AMENDMENT FOUNDATION,
7    AND NATIONAL RIFLE ASSOCIATION,
8                                           Plaintiff,
                           vs.
9

10   STATE OF WASHINGTON, AND ROBERT
     FERGUSON, IN HIS OFFICIAL CAPACITY
11   AS THE ATTORNEY GENERAL OF THE
     STATE OF WASHINGTON,
12
                                        Defendant.
13
                                       I.         INTRODUCTION
14

15      1.    This case is a federal civil rights action brought pursuant to 42 U.S.C. § 1983

16   seeking declaratory judgment and injunctive relief.

17      2.    This suit challenges the constitutionality of certain bans enacted through
18   Washington State Initiative No. 1639 (“I-1639”), enacted by voters on November 6, 2018.
19
     A copy of I-1639 is attached hereto as Exhibit A.
20
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1       3.    I-1639 drastically rewrites statutes governing purchase, sale, and ownership of

2    firearms in common use in the state of Washington. It thereby infringes the Plaintiffs’ right

3    under the Commerce Clause, U.S. Const. Art. I § 8 Cl. 3, and the Second and Fourteenth
4
     Amendments to the United States Constitution.
5
        4.    Section 13 of I-1639 becomes effective on January 1, 2019; the balance of I-1639
6
     becomes effective on July 1, 2019.
7

8                               II.     JURISDICTION AND VENUE

9       5.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the
10
     suit arises under Art. I § 8 Cl. 3 and the Second and Fourteenth Amendments to the United
11
     States Constitution.
12
        6.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1343 because the
13
     suit arises under the Civil Rights Act of 1871, 42 U.S.C. § 1983, to redress the deprivation,
14

15   under color of state law, of rights, privileges, and immunities secured to Plaintiffs by U.S.

16   Const. Art. I § 8 Cl. 3 and the Second and Fourteenth Amendments to the U.S. Constitution.

17      7.    Under 28 U.S.C. § 1367 this Court has supplemental jurisdiction over claims stated
18   in this Complaint that arise under state law but are so related to the federal claims as to form
19
     part of the same case or controversy.
20
        8.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and LCR 3(e), and intra-
21
     district assignment to the Tacoma Division is proper because a substantial part of the events
22
     and omissions that give rise to Plaintiffs’ claims arose in this judicial district and division,
23

24   and Defendants do business and operate in this judicial district and division.

25

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1                                         III.       PARTIES

2       9.      Plaintiff Daniel Mitchell is a federally licensed firearms dealer.
3
        10. Mitchell operates a business in Vancouver, Washington, which sells firearms to the
4
     public.
5
        11. Plaintiff Robin Ball is a federally licensed firearms dealer.
6
        12. Ball operates a business in Spokane, Washington, which sells firearms to the public.
7

8       13. Plaintiffs Mitchell and Ball are hereafter identified together as the “Dealer

9    Plaintiffs.”

10      14. Plaintiff Luke Rettmer is a resident of the state of Washington.
11      15. Rettmer is 19 years old.
12
        16. Rettmer is a competitive shooter.
13
        17. Rettmer is a member of the US Long Range Rifle Under 21 team.
14
        18. Rettmer has competed at the United States High Powered Rifle competition.
15
        19. Rettmer has competed at the world championship High Powered Rifle competition.
16

17      20. Rettmer expects to compete again in the future at the world championship High

18   Powered Rifle competition.

19      21. Plaintiff Nathaniel Casey is a citizen of the state of Washington and his permanent
20   residence is in Spokane, Washington.
21
        22. Casey is 19 years old and is a student at Boise State University where he is studying
22
     mathematics and education. Mr. Casey has limited means and works two jobs in addition to
23
     attending college.
24

25

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1       23. Casey is in the army reserves where he has received training and is qualified by the

2    U.S. Army on his fully automatic duty rifle as well as several other firearms. The training

3    he has already received exceeds anything required by I-1639.
4
        24. Casey owns a semi-automatic .223 caliber Colt M4 and intends to purchase a similar
5
     rifle in .22 long rifle caliber for less expensive target practice to help remain proficient with
6
     rifle target practice when not on duty.
7
        25. Casey also intends to purchase a higher caliber semi-automatic rifle suitable for
8

9    lawful big game hunting in the future.

10      26. Plaintiff Armen Tooloee is a resident of the state of Washington.

11      27. Tooloee is 20 years old.
12      28. Tooloee is a recreational shooter.
13
        29. Tooloee shoots at a rifle range with friends approximately once a month.
14
        30. Matthew Louis Wald is a resident of Washington State, age 19.
15
        31. Wald is a student at Seattle University, currently studying Nursing for his BSN. His
16
     permanent residence is in University Place, Washington.
17

18      32. Wald is a recreational shooter and shoots at rifle ranges several times a year.

19      33. Wald is the legal owner of a Ruger .22 semi-automatic rifle, and has hopes of

20   purchasing a semi-automatic .223 rifle for recreational target practice in the future.
21
        34. Wald has extensive experience with semi-automatic rifles and is lawfully qualified
22
     to purchase and own such rifles but for the restrictions of I-1639.
23
        35. Plaintiffs Rettmer, Casey, Tooloee, and Wald are hereafter identified together as
24
     the “Young Adult Plaintiffs.”
25

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1       36. Plaintiff Second Amendment Foundation, Inc. (“SAF”) is a non-profit membership

2    organization incorporated under the laws of Washington with its principal place of business

3    in Bellevue, Washington.
4
        37.    SAF has over 600,000 members and supporters nationwide, including thousands in
5
     the State of Washington.
6
        38. SAF offers education, research, publishing, and support for the constitutional right
7
     to own and possess firearms.
8

9       39. SAF brings this action on behalf of itself and its members. Plaintiff National Rifle

10   Association of America, Inc. (“NRA”) is a nonprofit association incorporated under the laws

11   of New York. Its principal place of business is 11250 Waples Mill Road, Fairfax, VA 22030.
12      40. The NRA is the oldest civil rights organization in America and the Nation’s
13
     foremost defender of Second Amendment rights.
14
        41. The NRA promotes the safe and responsible purchase, possession, and use of
15
     firearms by law-abiding adults for lawful purposes, such as self-defense, target practice,
16
     marksmanship competition, and hunting.
17

18      42. The NRA is the leading provider of firearms marksmanship and safety training for

19   civilians and law-enforcement officers.

20      43. The NRA has a membership of almost six million persons, many thousands of
21
     whom reside throughout the state of Washington. Plaintiffs Second Amendment Foundation
22
     and National Rifle Association are hereafter identified together as the “Organizational
23
     Plaintiffs.”
24

25

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1       44. The State of Washington is a sovereign state of the United States of America and

2    charged by law with the defense of the constitutionality of statutes of the State.

3       45. Defendant Robert Ferguson is sued in his official capacity as the Attorney General
4
     of the State of Washington. In that capacity, he is the chief law enforcement official of the
5
     State of Washington and responsible for enforcing the challenged Act.
6
                                     IV.        ALLEGATIONS
7

8
      A. Facts Regarding I-1639’s Ban On Sales Of Rifles To Non-Residents
9

10      46. I-1639 amends RCW 9.41.124, which reads in part:

11                Residents of a state other than Washington may purchase rifles and shotguns,
                  except those firearms defined as semiautomatic assault rifles, in Washington …
12

13      47. The words “except those firearms defined as semiautomatic assault rifles” were

14   added to the existing statute by I-1639.

15      48. I-1639 includes the following definition:
16                “Semiautomatic assault rifle” means any rifle which utilizes a portion of the
17
                  energy of a firing cartridge to extract the fired cartridge case and chamber the
                  next round, and which requires a separate pull of the trigger to fire each
18                cartridge.

19      49. Rifles that utilize a portion of the energy of a firing cartridge to extract the fired
20   cartridge case and chamber the next round, and which require a separate pull of the trigger
21
     to fire each cartridge (hereinafter “semi-automatic rifles”) are in common use in Washington
22
     and in the United States.
23
        50. Semi-automatic rifles are commonly owned and used for lawful purposes in
24
     Washington and in the United States.
25

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1        51. Plaintiff Mitchell has previously sold semi-automatic rifles to residents of other

2    states.

3        52. Plaintiff Mitchell profits from such sales.
4
         53. Plaintiff Mitchell intends in the future, absent a statutory ban, to continue selling
5
     semi-automatic rifles to residents of other states.
6
         54. Plaintiff Ball has in the past sold semi-automatic rifles to residents of other states.
7
         55. Plaintiff Ball profits from such sales.
8

9        56. Plaintiff Ball intends in the future, absent a statutory ban, to continue selling semi-

10   automatic rifles to residents of other states.

11
       B. Facts Regarding I-1639’s Ban On Adult Purchase Of Certain Rifles
12
         57. I-1639 amends RCW 9.41.240 to add the following:
13
                   A person under twenty-one years of age may not purchase a pistol
14                 or semiautomatic assault rifle, and except as otherwise provided
                   in this chapter, no person may sell or transfer a semiautomatic
15                 assault rifle to a person under twenty-one years of age. .

16       58. Plaintiff Rettmer is not prohibited by any law from purchasing or owning a firearm

17   except by virtue of his age.
18       59. Plaintiff Rettmer desires to purchase a semi-automatic rifle.
19
         60. Plaintiff Casey is not prohibited by any law from purchasing or owning a firearm
20
     except by virtue of his age.
21
         61. Plaintiff Tooloee is not prohibited by any law from purchasing or owning a firearm
22
     except by virtue of his age.
23

24       62. Plaintiff Tooloee desires to purchase a semi-automatic rifle.

25       63. Plaintiff Mitchell desires to sell semi-automatic rifles to non-prohibited purchasers.

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1       64. Plaintiff Ball desires to sell semi-automatic rifles to non-prohibited purchasers.

2                                   V.        CAUSES OF ACTION
3
        65. The allegations of the previous paragraphs are incorporated as if fully set forth.
4

5     A. Count I: Declaratory Relief: Section 12’s Ban on Sales of Rifles to Non-Residents
         Violates the Commerce Clause, Art. I § 8 cl. 3
6
        66. The Dealer Plaintiffs seek a declaration from this Court that the ban enacted by I-
7
     1639 which forbids a licensed dealer from selling certain rifles to non-residents of the state
8
     impermissibly burdens interstate commerce in violation of the Commerce Clause of the
9

10   United States Constitution, Art. I § 8 cl. 3.

11      67. The enacted ban on interstate sales of rifles is not carefully or narrowly tailored to

12   minimize the infringement of Second Amendment rights
13
      B. Count II: Declaratory Relief That Section 13 Unconstitutionally Impairs the Right
14       to Purchase And Possess Rifles Guaranteed by the Second Amendment

15      68. The Young Adult Plaintiffs seek a declaration from this Court that Section 13 of I-
16   1639, by preventing their purchase of certain rifles, impermissibly burdens their exercise of
17
     rights guaranteed by the Second Amendment to the United States Constitution
18
        69. The Dealer Plaintiffs seek a declaration from this Court that Section 13 of I-1639,
19
     by preventing the sale to otherwise qualified adults under age 21 of certain rifles,
20
     impermissibly burdens their exercise of rights guaranteed by the Second Amendment to the
21

22   United States Constitution.

23      70. The Organizational Plaintiffs, on their own behalf, and on behalf of their members,

24   seek a declaration from this Court that Section 13 of I-1639, by preventing the purchase by
25

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1    adults under age 21 of certain rifles, impermissibly burdens the exercise of rights guaranteed

2    by the Second Amendment to the United States Constitution.

3       71. No state interest justifies this infringement on the Young Adult Plaintiffs’ Second
4
     Amendment rights.
5
        72. The enacted ban on sale of semi-automatic rifles to Young Adults is significantly
6
     broader than necessary to serve any possible alleged governmental interest.
7

8     C. Count III: Declaratory Relief That Section 13 Violates The Washington
         Constitution Guarantee Of The Right To Bear Arms
9
        73. Plaintiffs seek a declaration from this Court that Section 13 of I-1639, by preventing
10
     the sale to otherwise qualified adults under age 21 of certain rifles, impermissibly burdens
11
     their exercise of rights guaranteed by the Article I Section 24 of the Washington Constitution.
12

13      74. The Dealer Plaintiffs and Organizational Plaintiffs seek an order from this Court

14   enjoining Washington State and anyone acting on its behalf or in concert with it from

15   enforcing the ban on sales of certain rifles to otherwise qualified adult purchasers who reside
16
     outside the state of Washington.
17
        75. Plaintiffs seek an order from this Court enjoining Washington State and anyone
18
     acting on its behalf or in concert with it from enforcing the ban on sales of certain rifles to
19
     otherwise qualified adult purchasers under age 21.
20

21    D. Count IV: Violation of Civil Rights (42 U.S.C. § 1983)
22      76. Attorney General Robert Ferguson has stated his intention to enforce I-1639. In
23   doing so, Attorney General Robert Ferguson will be acting under color of state law.
24

25

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1       77. Unless enjoined by this Court, the enforcement of I-1639 will deprive plaintiffs of

2    civil rights guaranteed by the Second Amendment to the United States Constitution, as

3    applied by the Fourteenth Amendment to the United States Constitution.
4

5                                   VI.      PRAYER FOR RELIEF

6
          WHEREFORE, Plaintiffs pray for the following relief:
7
        78. A declaration that the challenged portions of I-1639 are unconstitutional;
8
        79. An order enjoining the defendants, and anyone acting on their behalf or in concert
9
     with them, from enforcing I-1639 in its entirety unless the law is ruled severable, and in that
10

11   case, as to those sections determined to be unconstitutional;

12      80. Plaintiffs’ costs and attorneys’ fees; and

13      81. Such other and further relief as the court shall deem just and appropriate.
14            DATED November 14, 2018.
15

16
                                          By: s/
17
                                          Matthew C. Albrecht WSBA No. 36801
18                                        ALBRECHT LAW PLLC
                                          421 W. Riverside Ave, Suite 614
19                                        Spokane, WA 99201
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21
                                          Attorneys for Plaintiff
22

23

24

25

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1                                     CERTIFICATE OF SERVICE
2           I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
3    the CM/ECF System which will send notification of such filing to parties of record through
4    counsel (when applicable) as follows:
5

6    By email as per the stipulation for electronic service to:
7

8

9           DATED November 14, 2018.

10

11
                                            By: s/
12                                               Melanie Evans, Paralegal

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Initiative Measure No. 1639,                                filed May 2, 2018

    AN ACT Relating to increasing public safety by implementing
firearm safety measures, including requiring enhanced background
checks, waiting periods, and increased age requirements for
semiautomatic assault rifles and secure gun storage for all
firearms; amending RCW 9.41.090, 9.41.092, 9.41.094, 9.41.097,
9.41.0975, 9.41.110, 9.41.113, 9.41.124, 9.41.240, 9.41.129, and
9.41.010; adding new sections to chapter 9.41 RCW; creating new
sections; prescribing penalties; and providing effective dates.

BE IT ENACTED BY THE PEOPLE OF THE STATE OF WASHINGTON:


    NEW SECTION.   Sec. 1.    INTENT.       Gun violence is far too common
in Washington and the United States. In particular, shootings
involving the use of semiautomatic assault rifles have resulted in
hundreds of lives lost, devastating injuries, and lasting
psychological impacts on survivors, their families, and communities.
Semiautomatic assault rifles are specifically designed to kill
quickly and efficiently and have been used in some of the country's
deadliest mass shootings, including in Newtown, Connecticut; Las

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Vegas, Nevada; and Parkland and Orlando, Florida, among others.
Semiautomatic assault rifles have also been used in deadly shootings
in Washington, including in Mukilteo and Tacoma.
    The impacts of gun violence by assault weapons fall heavily on
children and teenagers. According to one analysis, more than two
hundred eight thousand students attending at least two hundred
twelve schools have experienced a shooting on campus since the
Columbine mass shooting in 1999. Active shooter drills are normal
for a generation of American schoolchildren, instilling at a young
age the sad and unnecessary realization that a mass shooting can
happen in any community, in any school, at any time.
    Enough is enough. The people find and declare that it is crucial
and urgent to pass laws to increase public safety and reduce gun
violence.
    Implementing an enhanced background check system for
semiautomatic assault rifles that is as strong as the one required
to purchase a handgun and requiring safety training and a waiting
period will help ensure that we keep these weapons out of dangerous
hands. Further, federal law prohibits the sale of pistols to
individuals under the age of twenty-one and at least a dozen states
further restrict the ownership or possession of firearms by
individuals under the age of twenty-one. This makes sense, as
studies show that eighteen to twenty year olds commit a
disproportionate number of firearm homicides in the United States
and research indicates that the brain does not fully mature until a
later age. Raising the minimum age to purchase semiautomatic assault
rifles to twenty-one is a commonsense step the people wish to take
to increase public safety.
    Finally, firearms taken from the home by children or other
persons prohibited from possessing firearms have been at the heart
of several tragic gun violence incidents. One study shows that over
eighty-five percent of school shooters obtained the firearm at their
home or from a friend or relative. Another study found that more
than seventy-five percent of firearms used in youth suicide attempts

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and unintentional injuries were stored in the residence of the
victim, a relative, or a friend. Secure gun storage requirements for
all firearms will increase public safety by helping ensure that
children and other prohibited persons do not inappropriately gain
access to firearms, and notice requirements will make the potential
dangers of firearms clear to purchasers.
    Therefore, to increase public safety for all Washingtonians, in
particular our children, this measure would, among other things:
Create an enhanced background check system applicable to
semiautomatic assault rifles similar to what is required for
handguns, require that individuals complete a firearm safety
training course and be at least twenty-one years of age to purchase
or possess such weapons, enact a waiting period for the purchase of
such weapons, and establish standards for the responsible storage of
all firearms.


    NEW SECTION.   Sec. 2.    SHORT TITLE.    This act may be known and
cited as the public safety and semiautomatic assault rifle act.


    Sec. 3.   ENHANCED BACKGROUND CHECKS.      RCW 9.41.090 and 2018 c
201 s 6003 are each amended to read as follows:
     (1) In addition to the other requirements of this chapter, no
dealer may deliver a pistol to the purchaser thereof until:
    (a) The purchaser produces a valid concealed pistol license and
the dealer has recorded the purchaser's name, license number, and
issuing agency, such record to be made in triplicate and processed
as provided in subsection (((5))) (6) of this section. For purposes
of this subsection (1)(a), a "valid concealed pistol license" does
not include a temporary emergency license, and does not include any
license issued before July 1, 1996, unless the issuing agency
conducted a records search for disqualifying crimes under RCW
9.41.070 at the time of issuance;
    (b) The dealer is notified in writing by (i) the chief of police
or the sheriff of the jurisdiction in which the purchaser resides

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that the purchaser is eligible to possess a pistol under RCW
9.41.040 and that the application to purchase is approved by the
chief of police or sheriff; or (ii) the state that the purchaser is
eligible to possess a firearm under RCW 9.41.040, as provided in
subsection (3)(b) of this section; or
    (c) The requirements or time periods in RCW 9.41.092 have been
satisfied.
    (2) In addition to the other requirements of this chapter, no
dealer may deliver a semiautomatic assault rifle to the purchaser
thereof until:
    (a) The purchaser provides proof that he or she has completed a
recognized firearm safety training program within the last five
years that, at a minimum, includes instruction on:
    (i) Basic firearms safety rules;
    (ii) Firearms and children, including secure gun storage and
talking to children about gun safety;
    (iii) Firearms and suicide prevention;
    (iv) Secure gun storage to prevent unauthorized access and use;
    (v) Safe handling of firearms; and
    (vi) State and federal firearms laws, including prohibited
firearms transfers.
    The training must be sponsored by a federal, state, county, or
municipal law enforcement agency, a college or university, a
nationally recognized organization that customarily offers firearms
training, or a firearms training school with instructors certified
by a nationally recognized organization that customarily offers
firearms training. The proof of training shall be in the form of a
certification that states under the penalty of perjury the training
included the minimum requirements; and
    (b) The dealer is notified in writing by (i) the chief of police
or the sheriff of the jurisdiction in which the purchaser resides
that the purchaser is eligible to possess a firearm under
RCW 9.41.040 and that the application to purchase is approved by the
chief of police or sheriff; or (ii) the state that the purchaser is

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eligible to possess a firearm under RCW 9.41.040, as provided in
subsection (3)(b) of this section; or
    (c) The requirements or time periods in RCW 9.41.092 have been
satisfied.
    (3)(a) Except as provided in (b) of this subsection, in
determining whether the purchaser meets the requirements of RCW
9.41.040, the chief of police or sheriff, or the designee of either,
shall check with the national crime information center, including
the national instant criminal background check system, provided for
by the Brady Handgun Violence Prevention Act (18 U.S.C. Sec. 921 et
seq.), the Washington state patrol electronic database, the health
care authority electronic database, and with other agencies or
resources as appropriate, to determine whether the applicant is
ineligible under RCW 9.41.040 to possess a firearm.
    (b) The state, through the legislature or initiative process,
may enact a statewide firearms background check system equivalent
to, or more comprehensive than, the check required by (a) of this
subsection to determine that a purchaser is eligible to possess a
firearm under RCW 9.41.040. Once ((the)) a state system is
established, a dealer shall use the state system and national
instant criminal background check system, provided for by the Brady
Handgun Violence Prevention Act (18 U.S.C. Sec. 921 et seq.), to
make criminal background checks of applicants to purchase firearms.
((However, a chief of police or sheriff, or a designee of either,
shall continue to check the health care authority's electronic
database and with other agencies or resources as appropriate, to
determine whether applicants are ineligible under RCW 9.41.040 to
possess a firearm.))
    (((3))) (4) In any case under this section where the applicant
has an outstanding warrant for his or her arrest from any court of
competent jurisdiction for a felony or misdemeanor, the dealer shall
hold the delivery of the pistol or semiautomatic assault rifle until
the warrant for arrest is served and satisfied by appropriate court
appearance. The local jurisdiction for purposes of the sale, or the

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state pursuant to subsection (3)(b) of this section, shall confirm
the existence of outstanding warrants within seventy-two hours after
notification of the application to purchase a pistol or
semiautomatic assault rifle is received. The local jurisdiction
shall also immediately confirm the satisfaction of the warrant on
request of the dealer so that the hold may be released if the
warrant was for an offense other than an offense making a person
ineligible under RCW 9.41.040 to possess a ((pistol)) firearm.
    (((4))) (5) In any case where the chief or sheriff of the local
jurisdiction, or the state pursuant to subsection (3)(b) of this
section, has reasonable grounds based on the following
circumstances: (a) Open criminal charges, (b) pending criminal
proceedings, (c) pending commitment proceedings, (d) an outstanding
warrant for an offense making a person ineligible under RCW 9.41.040
to possess a ((pistol)) firearm, or (e) an arrest for an offense
making a person ineligible under RCW 9.41.040 to possess a
((pistol)) firearm, if the records of disposition have not yet been
reported or entered sufficiently to determine eligibility to
purchase a ((pistol)) firearm, the local jurisdiction or the state
may hold the sale and delivery of the pistol or semiautomatic
assault rifle up to thirty days in order to confirm existing records
in this state or elsewhere. After thirty days, the hold will be
lifted unless an extension of the thirty days is approved by a local
district court, superior court, or municipal court for good cause
shown. A dealer shall be notified of each hold placed on the sale by
local law enforcement or the state and of any application to the
court for additional hold period to confirm records or confirm the
identity of the applicant.
    (((5))) (6)(a) At the time of applying for the purchase of a
pistol or semiautomatic assault rifle, the purchaser shall sign in
triplicate and deliver to the dealer an application containing:
    (i) His or her full name, residential address, date and place of
birth, race, and gender;
    (ii) The date and hour of the application;

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    (iii) The applicant's driver's license number or state
identification card number;
    (iv) A description of the pistol or semiautomatic assault rifle
including the make, model, caliber and manufacturer's number if
available at the time of applying for the purchase of a pistol or
semiautomatic assault rifle. If the manufacturer's number is not
available at the time of applying for the purchase of a pistol or
semiautomatic assault rifle, the application may be processed, but
delivery of the pistol or semiautomatic assault rifle to the
purchaser may not occur unless the manufacturer's number is recorded
on the application by the dealer and transmitted to the chief of
police of the municipality or the sheriff of the county in which the
purchaser resides, or the state pursuant to subsection (3)(b) of
this section; ((and))
    (v) A statement that the purchaser is eligible to purchase and
possess a ((pistol)) firearm under ((RCW 9.41.040)) state and
federal law; and
    (vi) If purchasing a semiautomatic assault rifle, a statement by
the applicant under penalty of perjury that the applicant has
completed a recognized firearm safety training program within the
last five years, as required by subsection (2) of this section.
    (b) The application shall contain ((a)) two warnings
substantially stated as follows:

    (i) CAUTION: Although state and local laws do not differ,
federal law and state law on the possession of firearms differ. If
you are prohibited by federal law from possessing a firearm, you may
be prosecuted in federal court. State permission to purchase a
firearm is not a defense to a federal prosecution; and

    (ii) CAUTION: The presence of a firearm in the home has been
associated with an increased risk of death to self and others,
including an increased risk of suicide, death during domestic
violence incidents, and unintentional deaths to children and others.



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    The purchaser shall be given a copy of the department of fish
and wildlife pamphlet on the legal limits of the use of
firearms((,)) and firearms safety((, and the fact that local laws
and ordinances on firearms are preempted by state law and must be
consistent with state law)).
    (c) The dealer shall, by the end of the business day, sign and
attach his or her address and deliver a copy of the application and
such other documentation as required under subsections (1) and (2)
of this section to the chief of police of the municipality or the
sheriff of the county of which the purchaser is a resident, or the
state pursuant to subsection (3)(b) of this section. The triplicate
shall be retained by the dealer for six years. The dealer shall
deliver the pistol or semiautomatic assault rifle to the purchaser
following the period of time specified in this chapter unless the
dealer is notified of an investigative hold under subsection (((4)))
(5) of this section in writing by the chief of police of the
municipality ((or)), the sheriff of the county, or the state,
whichever is applicable, ((denying)) or of the denial of the
purchaser's application to purchase and the grounds thereof. The
application shall not be denied unless the purchaser is not eligible
to purchase or possess ((a pistol)) the firearm under ((RCW
9.41.040)) state or ((9.41.045, or)) federal law.
    (d) The chief of police of the municipality or the sheriff of
the county, or the state pursuant to subsection (3)(b) of this
section, shall retain or destroy applications to purchase a pistol
or semiautomatic assault rifle in accordance with the requirements
of 18 U.S.C. Sec. 922.
    (((6))) (7)(a) To help offset the administrative costs of
implementing this section as it relates to new requirements for
semiautomatic assault rifles, the department of licensing may
require the dealer to charge each semiautomatic assault rifle
purchaser or transferee a fee not to exceed twenty-five dollars,
except that the fee may be adjusted at the beginning of each
biennium to levels not to exceed the percentage increase in the

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consumer price index for all urban consumers, CPI-W, or a successor
index, for the previous biennium as calculated by the United States
department of labor.
    (b) The fee under (a) of this subsection shall be no more than
is necessary to fund the following:
    (i) The state for the cost of meeting its obligations under this
section;
    (ii) The health care authority, mental health institutions, and
other health care facilities for state-mandated costs resulting from
the reporting requirements imposed by RCW 9.41.097(1); and
    (iii) Local law enforcement agencies for state-mandated local
costs resulting from the requirements set forth under RCW 9.41.090
and this section.
    (8) A person who knowingly makes a false statement regarding
identity or eligibility requirements on the application to purchase
a ((pistol)) firearm is guilty of false swearing under RCW
9A.72.040.
    (((7))) (9) This section does not apply to sales to licensed
dealers for resale or to the sale of antique firearms.


    Sec. 4.   WAITING PERIOD. RCW 9.41.092 and 2018 c 145 s 4 are
each amended to read as follows:
     (1) Except as otherwise provided in this chapter and except for
semiautomatic assault rifles under subsection (2) of this section, a
licensed dealer may not deliver any firearm to a purchaser or
transferee until the earlier of:
    (((1))) (a) The results of all required background checks are
known and the purchaser or transferee (((a))) (i) is not prohibited
from owning or possessing a firearm under federal or state law and
(((b))) (ii) does not have a voluntary waiver of firearm rights
currently in effect; or
    (((2))) (b) Ten business days have elapsed from the date the
licensed dealer requested the background check. However, for sales
and transfers of pistols if the purchaser or transferee does not

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have a valid permanent Washington driver's license or state
identification card or has not been a resident of the state for the
previous consecutive ninety days, then the time period in this
subsection shall be extended from ten business days to sixty days.
    (2) Except as otherwise provided in this chapter, a licensed
dealer may not deliver a semiautomatic assault rifle to a purchaser
or transferee until ten business days have elapsed from the date of
the purchase application or, in the case of a transfer, ten business
days have elapsed from the date a background check is initiated.


    NEW SECTION.   Sec. 5.    SECURE GUN STORAGE. A new section is
added to chapter 9.41 RCW to read as follows:
     (1) A person who stores or leaves a firearm in a location where
the person knows, or reasonably should know, that a prohibited
person may gain access to the firearm:
    (a) Is guilty of community endangerment due to unsafe storage of
a firearm in the first degree if a prohibited person obtains access
and possession of the firearm and causes personal injury or death
with the firearm; or
    (b) Is guilty of community endangerment due to unsafe storage of
a firearm in the second degree if a prohibited person obtains access
and possession of the firearm and:
    (i) Causes the firearm to discharge;
    (ii) Carries, exhibits, or displays the firearm in a public
place in a manner that either manifests an intent to intimidate
another or that warrants alarm for the safety of other persons; or
    (iii) Uses the firearm in the commission of a crime.
    (2)(a) Community endangerment due to unsafe storage of a firearm
in the first degree is a class C felony punishable according to
chapter 9A.20 RCW.
    (b) Community endangerment due to unsafe storage of a firearm in
the second degree is a gross misdemeanor punishable according to
chapter 9A.20 RCW.
    (3) Subsection (1) of this section does not apply if:

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    (a) The firearm was in secure gun storage, or secured with a
trigger lock or similar device that is designed to prevent the
unauthorized use or discharge of the firearm;
    (b) In the case of a person who is a prohibited person on the
basis of the person's age, access to the firearm is with the lawful
permission of the prohibited person's parent or guardian and
supervised by an adult, or is in accordance with RCW 9.41.042;
    (c) The prohibited person obtains, or obtains and discharges,
the firearm in a lawful act of self-defense; or
    (d) The prohibited person's access to the firearm was obtained
as a result of an unlawful entry, provided that the unauthorized
access or theft of the firearm is reported to a local law
enforcement agency in the jurisdiction in which the unauthorized
access or theft occurred within five days of the time the victim of
the unlawful entry knew or reasonably should have known that the
firearm had been taken.
    (4) If a death or serious injury occurs as a result of an
alleged violation of subsection (1)(a) of this section, the
prosecuting attorney may decline to prosecute, even though
technically sufficient evidence to prosecute exists, in situations
where prosecution would serve no public purpose or would defeat the
purpose of the law in question.
    (5) For the purposes of this section, "prohibited person" means
a person who is prohibited from possessing a firearm under state or
federal law.
    (6) Nothing in this section mandates how or where a firearm must
be stored.


    NEW SECTION.   Sec. 6.    AVAILABILITY OF SECURE GUN STORAGE.       A
new section is added to chapter 9.41 RCW to read as follows:
     (1) When selling or transferring any firearm, every dealer
shall offer to sell or give the purchaser or transferee a secure gun
storage device, or a trigger lock or similar device that is designed
to prevent the unauthorized use or discharge of the firearm.

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    (2) Every store, shop, or sales outlet where firearms are sold,
that is registered as a dealer in firearms with the department of
licensing, shall conspicuously post, in a prominent location so that
all patrons may take notice, the following warning sign, to be
provided by the department of licensing, in block letters at least
one inch in height:
    WARNING: YOU MAY FACE CRIMINAL PROSECUTION IF YOU STORE OR LEAVE
AN UNSECURED FIREARM WHERE A PERSON WHO IS PROHIBITED FROM
POSSESSING FIREARMS CAN AND DOES OBTAIN POSSESSION.
    (3) Every store, shop, or sales outlet where firearms are sold
that is registered as a dealer in firearms with the department of
licensing, upon the sale or transfer of a firearm, shall deliver a
written warning to the purchaser or transferee that states, in block
letters not less than one-fourth inch in height:
    WARNING: YOU MAY FACE CRIMINAL PROSECUTION IF YOU STORE OR LEAVE
AN UNSECURED FIREARM WHERE A PERSON WHO IS PROHIBITED FROM
POSSESSING FIREARMS CAN AND DOES OBTAIN POSSESSION.
    (4) Every person who violates this section is guilty of a class
1 civil infraction under chapter 7.80 RCW and may be fined up to two
hundred fifty dollars. However, no such fines may be levied until
thirty days have expired from the time warning signs required under
subsection (2) of this section are distributed by the department of
licensing.


    Sec. 7.   RCW 9.41.094 and 2018 c 201 s 6004 are each amended to
read as follows:
    A signed application to purchase a pistol or semiautomatic
assault rifle shall constitute a waiver of confidentiality and
written request that the health care authority, mental health
institutions, and other health care facilities release, to an
inquiring court or law enforcement agency, information relevant to
the applicant's eligibility to purchase a pistol or semiautomatic
assault rifle to an inquiring court or law enforcement agency.



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    Sec. 8.   RCW 9.41.097 and 2018 c 201 s 6005 are each amended to
read as follows:
    (1) The health care authority, mental health institutions, and
other health care facilities shall, upon request of a court, ((or))
law enforcement agency, or the state, supply such relevant
information as is necessary to determine the eligibility of a person
to possess a ((pistol)) firearm or to be issued a concealed pistol
license under RCW 9.41.070 or to purchase a pistol or semiautomatic
assault rifle under RCW 9.41.090.
    (2) Mental health information received by: (a) The department of
licensing pursuant to RCW 9.41.047 or 9.41.173; (b) an issuing
authority pursuant to RCW 9.41.047 or 9.41.070; (c) a chief of
police or sheriff pursuant to RCW 9.41.090 or 9.41.173; (d) a court
or law enforcement agency pursuant to subsection (1) of this
section; or (e) the state pursuant to RCW 9.41.090, shall not be
disclosed except as provided in RCW 42.56.240(4).


    Sec. 9.   RCW 9.41.0975 and 2009 c 216 s 7 are each amended to
read as follows:
    (1) The state, local governmental entities, any public or
private agency, and the employees of any state or local governmental
entity or public or private agency, acting in good faith, are immune
from liability:
    (a) For failure to prevent the sale or transfer of a firearm to
a person whose receipt or possession of the firearm is unlawful;
    (b) For preventing the sale or transfer of a firearm to a person
who may lawfully receive or possess a firearm;
    (c) For issuing a concealed pistol license or alien firearm
license to a person ineligible for such a license;
    (d) For failing to issue a concealed pistol license or alien
firearm license to a person eligible for such a license;
    (e) For revoking or failing to revoke an issued concealed pistol
license or alien firearm license;



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    (f) For errors in preparing or transmitting information as part
of determining a person's eligibility to receive or possess a
firearm, or eligibility for a concealed pistol license or alien
firearm license;
    (g) For issuing a dealer's license to a person ineligible for
such a license; or
    (h) For failing to issue a dealer's license to a person eligible
for such a license.
    (2) An application may be made to a court of competent
jurisdiction for a writ of mandamus:
    (a) Directing an issuing agency to issue a concealed pistol
license or alien firearm license wrongfully refused;
    (b) Directing a law enforcement agency to approve an application
to purchase a pistol or semiautomatic assault rifle wrongfully
denied;
    (c) Directing that erroneous information resulting either in the
wrongful refusal to issue a concealed pistol license or alien
firearm license or in the wrongful denial of a purchase application
for a pistol or semiautomatic assault rifle be corrected; or
    (d) Directing a law enforcement agency to approve a dealer's
license wrongfully denied.
    The application for the writ may be made in the county in which
the application for a concealed pistol license or alien firearm
license or to purchase a pistol or semiautomatic assault rifle was
made, or in Thurston county, at the discretion of the petitioner. A
court shall provide an expedited hearing for an application brought
under this subsection (2) for a writ of mandamus. A person granted a
writ of mandamus under this subsection (2) shall be awarded
reasonable attorneys' fees and costs.


    Sec. 10.      RCW 9.41.110 and 2009 c 479 s 10 are each amended to
read as follows:
    (1) No dealer may sell or otherwise transfer, or expose for sale
or transfer, or have in his or her possession with intent to sell,

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or otherwise transfer, any pistol without being licensed as provided
in this section.
    (2) No dealer may sell or otherwise transfer, or expose for sale
or transfer, or have in his or her possession with intent to sell,
or otherwise transfer, any firearm other than a pistol without being
licensed as provided in this section.
    (3) No dealer may sell or otherwise transfer, or expose for sale
or transfer, or have in his or her possession with intent to sell,
or otherwise transfer, any ammunition without being licensed as
provided in this section.
    (4) The duly constituted licensing authorities of any city,
town, or political subdivision of this state shall grant licenses in
forms prescribed by the director of licensing effective for not more
than one year from the date of issue permitting the licensee to sell
firearms within this state subject to the following conditions, for
breach of any of which the license shall be forfeited and the
licensee subject to punishment as provided in RCW 9.41.010 through
9.41.810. A licensing authority shall forward a copy of each license
granted to the department of licensing. The department of licensing
shall notify the department of revenue of the name and address of
each dealer licensed under this section.
    (5)(a) A licensing authority shall, within thirty days after the
filing of an application of any person for a dealer's license,
determine whether to grant the license. However, if the applicant
does not have a valid permanent Washington driver's license or
Washington state identification card, or has not been a resident of
the state for the previous consecutive ninety days, the licensing
authority shall have up to sixty days to determine whether to issue
a license. No person shall qualify for a license under this section
without first receiving a federal firearms license and undergoing
fingerprinting and a background check. In addition, no person
ineligible to possess a firearm under RCW 9.41.040 or ineligible for
a concealed pistol license under RCW 9.41.070 shall qualify for a
dealer's license.

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    (b) A dealer shall require every employee who may sell a firearm
in the course of his or her employment to undergo fingerprinting and
a background check. An employee must be eligible to possess a
firearm, and must not have been convicted of a crime that would make
the person ineligible for a concealed pistol license, before being
permitted to sell a firearm. Every employee shall comply with
requirements concerning purchase applications and restrictions on
delivery of pistols or semiautomatic assault rifles that are
applicable to dealers.
    (6)(a) Except as otherwise provided in (b) of this subsection,
the business shall be carried on only in the building designated in
the license. For the purpose of this section, advertising firearms
for sale shall not be considered the carrying on of business.
    (b) A dealer may conduct business temporarily at a location
other than the building designated in the license, if the temporary
location is within Washington state and is the location of a gun
show sponsored by a national, state, or local organization, or an
affiliate of any such organization, devoted to the collection,
competitive use, or other sporting use of firearms in the community.
Nothing in this subsection (6)(b) authorizes a dealer to conduct
business in or from a motorized or towed vehicle.
    In conducting business temporarily at a location other than the
building designated in the license, the dealer shall comply with all
other requirements imposed on dealers by RCW 9.41.090, 9.41.100, and
((9.41.110)) this section. The license of a dealer who fails to
comply with the requirements of RCW 9.41.080 and 9.41.090 and
subsection (8) of this section while conducting business at a
temporary location shall be revoked, and the dealer shall be
permanently ineligible for a dealer's license.
    (7) The license or a copy thereof, certified by the issuing
authority, shall be displayed on the premises in the area where
firearms are sold, or at the temporary location, where it can easily
be read.


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    (8)(a) No pistol or semiautomatic assault rifle may be sold: (i)
In violation of any provisions of RCW 9.41.010 through 9.41.810; nor
(ii) may a pistol or semiautomatic assault rifle be sold under any
circumstances unless the purchaser is personally known to the dealer
or shall present clear evidence of his or her identity.
    (b) A dealer who sells or delivers any firearm in violation of
RCW 9.41.080 is guilty of a class C felony. In addition to any other
penalty provided for by law, the dealer is subject to mandatory
permanent revocation of his or her dealer's license and permanent
ineligibility for a dealer's license.
    (c) The license fee for pistols shall be one hundred twenty-five
dollars. The license fee for firearms other than pistols shall be
one hundred twenty-five dollars. The license fee for ammunition
shall be one hundred twenty-five dollars. Any dealer who obtains any
license under subsection (1), (2), or (3) of this section may also
obtain the remaining licenses without payment of any fee. The fees
received under this section shall be deposited in the state general
fund.
    (9)(a) A true record in triplicate shall be made of every pistol
or semiautomatic assault rifle sold, in a book kept for the purpose,
the form of which may be prescribed by the director of licensing and
shall be personally signed by the purchaser and by the person
effecting the sale, each in the presence of the other, and shall
contain the date of sale, the caliber, make, model and
manufacturer's number of the weapon, the name, address, occupation,
and place of birth of the purchaser, and a statement signed by the
purchaser that he or she is not ineligible under ((RCW 9.41.040))
state or federal law to possess a firearm.
    (b) One copy shall within six hours be sent by certified mail to
the chief of police of the municipality or the sheriff of the county
of which the purchaser is a resident, or the state pursuant to RCW
9.41.090; the duplicate the dealer shall within seven days send to
the director of licensing; the triplicate the dealer shall retain
for six years.

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    (10) Subsections (2) through (9) of this section shall not apply
to sales at wholesale.
    (11) The dealer's licenses authorized to be issued by this
section are general licenses covering all sales by the licensee
within the effective period of the licenses. The department shall
provide a single application form for dealer's licenses and a single
license form which shall indicate the type or types of licenses
granted.
    (12) Except as provided in RCW 9.41.090, every city, town, and
political subdivision of this state is prohibited from requiring the
purchaser to secure a permit to purchase or from requiring the
dealer to secure an individual permit for each sale.


    Sec. 11.   RCW 9.41.113 and 2017 c 264 s 2 are each amended to
read as follows:
    (1) All firearm sales or transfers, in whole or part in this
state including without limitation a sale or transfer where either
the purchaser or seller or transferee or transferor is in
Washington, shall be subject to background checks unless
specifically exempted by state or federal law. The background check
requirement applies to all sales or transfers including, but not
limited to, sales and transfers through a licensed dealer, at gun
shows, online, and between unlicensed persons.
    (2) No person shall sell or transfer a firearm unless:
    (a) The person is a licensed dealer;
    (b) The purchaser or transferee is a licensed dealer; or
    (c) The requirements of subsection (3) of this section are met.
    (3) Where neither party to a prospective firearms transaction is
a licensed dealer, the parties to the transaction shall complete the
sale or transfer through a licensed dealer as follows:
    (a) The seller or transferor shall deliver the firearm to a
licensed dealer to process the sale or transfer as if it is selling
or transferring the firearm from its inventory to the purchaser or
transferee, except that the unlicensed seller or transferor may

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remove the firearm from the business premises of the licensed dealer
while the background check is being conducted. If the seller or
transferor removes the firearm from the business premises of the
licensed dealer while the background check is being conducted, the
purchaser or transferee and the seller or transferor shall return to
the business premises of the licensed dealer and the seller or
transferor shall again deliver the firearm to the licensed dealer
prior to completing the sale or transfer.
    (b) Except as provided in (a) of this subsection, the licensed
dealer shall comply with all requirements of federal and state law
that would apply if the licensed dealer were selling or transferring
the firearm from its inventory to the purchaser or transferee,
including but not limited to conducting a background check on the
prospective purchaser or transferee in accordance with federal and
state law requirements ((and)), fulfilling all federal and state
recordkeeping requirements, and complying with the specific
requirements and restrictions on semiautomatic assault rifles in
this act.
    (c) The purchaser or transferee must complete, sign, and submit
all federal, state, and local forms necessary to process the
required background check to the licensed dealer conducting the
background check.
    (d) If the results of the background check indicate that the
purchaser or transferee is ineligible to possess a firearm, then the
licensed dealer shall return the firearm to the seller or
transferor.
    (e) The licensed dealer may charge a fee that reflects the fair
market value of the administrative costs and efforts incurred by the
licensed dealer for facilitating the sale or transfer of the
firearm.
    (4) This section does not apply to:
    (a) A transfer between immediate family members, which for this
subsection shall be limited to spouses, domestic partners, parents,
parents-in-law, children, siblings, siblings-in-law, grandparents,

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grandchildren, nieces, nephews, first cousins, aunts, and uncles,
that is a bona fide gift or loan;
    (b) The sale or transfer of an antique firearm;
    (c) A temporary transfer of possession of a firearm if such
transfer is necessary to prevent imminent death or great bodily harm
to the person to whom the firearm is transferred if:
    (i) The temporary transfer only lasts as long as immediately
necessary to prevent such imminent death or great bodily harm; and
    (ii) The person to whom the firearm is transferred is not
prohibited from possessing firearms under state or federal law;
    (d) A temporary transfer of possession of a firearm if: (i) The
transfer is intended to prevent suicide or self-inflicted great
bodily harm; (ii) the transfer lasts only as long as reasonably
necessary to prevent death or great bodily harm; and (iii) the
firearm is not utilized by the transferee for any purpose for the
duration of the temporary transfer;
    (e) Any law enforcement or corrections agency and, to the extent
the person is acting within the course and scope of his or her
employment or official duties, any law enforcement or corrections
officer, United States marshal, member of the armed forces of the
United States or the national guard, or federal official;
    (f) A federally licensed gunsmith who receives a firearm solely
for the purposes of service or repair, or the return of the firearm
to its owner by the federally licensed gunsmith;
    (g) The temporary transfer of a firearm (i) between spouses or
domestic partners; (ii) if the temporary transfer occurs, and the
firearm is kept at all times, at an established shooting range
authorized by the governing body of the jurisdiction in which such
range is located; (iii) if the temporary transfer occurs and the
transferee's possession of the firearm is exclusively at a lawful
organized competition involving the use of a firearm, or while
participating in or practicing for a performance by an organized
group that uses firearms as a part of the performance; (iv) to a
person who is under eighteen years of age for lawful hunting,

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sporting, or educational purposes while under the direct supervision
and control of a responsible adult who is not prohibited from
possessing firearms; (v) under circumstances in which the transferee
and the firearm remain in the presence of the transferor; or (vi)
while hunting if the hunting is legal in all places where the person
to whom the firearm is transferred possesses the firearm and the
person to whom the firearm is transferred has completed all training
and holds all licenses or permits required for such hunting,
provided that any temporary transfer allowed by this subsection is
permitted only if the person to whom the firearm is transferred is
not prohibited from possessing firearms under state or federal law;
    (h) A person who (i) acquired a firearm other than a pistol by
operation of law upon the death of the former owner of the firearm
or (ii) acquired a pistol by operation of law upon the death of the
former owner of the pistol within the preceding sixty days. At the
end of the sixty-day period, the person must either have lawfully
transferred the pistol or must have contacted the department of
licensing to notify the department that he or she has possession of
the pistol and intends to retain possession of the pistol, in
compliance with all federal and state laws; or
    (i) A sale or transfer when the purchaser or transferee is a
licensed collector and the firearm being sold or transferred is a
curio or relic.


    Sec. 12.   RCW 9.41.124 and 2015 c 1 s 7 are each amended to read
as follows:
    Residents of a state other than Washington may purchase rifles
and shotguns, except those firearms defined as semiautomatic assault
rifles, in Washington: PROVIDED, That such residents conform to the
applicable provisions of the federal Gun Control Act of 1968, Title
IV, Pub. L. 90-351 as administered by the United States secretary of
the treasury: AND PROVIDED FURTHER, That such residents are eligible
to purchase or possess such weapons in Washington and in the state
in which such persons reside: AND PROVIDED FURTHER, That such

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residents are subject to the procedures and background checks
required by this chapter.


       Sec. 13.   RCW 9.41.240 and 1994 sp.s. c 7 s 423 are each amended
to read as follows:
    (1) A person under twenty-one years of age may not purchase a
pistol or semiautomatic assault rifle, and except as otherwise
provided in this chapter, no person may sell or transfer a
semiautomatic assault rifle to a person under twenty-one years of
age.
    (2) Unless an exception under RCW 9.41.042, 9.41.050, or
9.41.060 applies, a person at least eighteen years of age, but less
than twenty-one years of age, may possess a pistol only:
    (((1))) (a) In the person's place of abode;
    (((2))) (b) At the person's fixed place of business; or
    (((3))) (c) On real property under his or her control.
    (3) Except in the places and situations identified in RCW
9.41.042 (1) through (9) and 9.41.060 (1) through (10), a person at
least eighteen years of age, but less than twenty-one years of age,
may possess a semiautomatic assault rifle only:
    (a) In the person's place of abode;
    (b) At the person's fixed place of business;
    (c) On real property under his or her control; or
    (d) For the specific purpose of (i) moving to a new place of
abode; (ii) traveling between the person's place of abode and real
property under his or her control; or (iii) selling or transferring
the firearm in accordance with the requirements of this chapter;
provided that in all of these situations the semiautomatic assault
rifle is unloaded and either in secure gun storage or secured with a
trigger lock or similar device that is designed to prevent the
unauthorized use or discharge of the firearm.


    Sec. 14.      RCW 9.41.129 and 2005 c 274 s 203 are each amended to
read as follows:

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    The department of licensing ((may)) shall keep copies or records
of applications for concealed pistol licenses provided for in RCW
9.41.070, copies or records of applications for alien firearm
licenses, copies or records of applications to purchase pistols or
semiautomatic assault rifles provided for in RCW 9.41.090, and
copies or records of pistol or semiautomatic assault rifle transfers
provided for in RCW 9.41.110. The copies and records shall not be
disclosed except as provided in RCW 42.56.240(4).


    NEW SECTION.   Sec. 15.    A new section is added to chapter 9.41
RCW to read as follows:
    (1) Within twelve months of the effective date of this section,
the department of licensing shall, in conjunction with the
Washington state patrol and other state and local law enforcement
agencies as necessary, develop a cost-effective and efficient
process to:
    (a) Verify, on an annual or more frequent basis, that persons
who acquired pistols or semiautomatic assault rifles pursuant to
this chapter remain eligible to possess a firearm under state and
federal law; and
    (b) If such persons are determined to be ineligible for any
reason, (i) notify and provide the relevant information to the chief
of police or the sheriff of the jurisdiction in which the purchaser
resides and (ii) take steps to ensure such persons are not illegally
in possession of firearms.
    (2) The department of licensing, where appropriate, may consult
with individuals from the public and private sector or ask the
individuals to establish a temporary advisory committee to
accomplish the purposes in subsection (1) of this section. Members
of such an advisory committee are not entitled to expense
reimbursement.


    Sec. 16.   RCW 9.41.010 and 2018 c 7 s 1 are each amended to read
as follows:

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    Unless the context clearly requires otherwise, the definitions
in this section apply throughout this chapter.
    (1) "Antique firearm" means a firearm or replica of a firearm
not designed or redesigned for using rim fire or conventional center
fire ignition with fixed ammunition and manufactured in or before
1898, including any matchlock, flintlock, percussion cap, or similar
type of ignition system and also any firearm using fixed ammunition
manufactured in or before 1898, for which ammunition is no longer
manufactured in the United States and is not readily available in
the ordinary channels of commercial trade.
    (2) "Barrel length" means the distance from the bolt face of a
closed action down the length of the axis of the bore to the crown
of the muzzle, or in the case of a barrel with attachments to the
end of any legal device permanently attached to the end of the
muzzle.
    (3) "Bump-fire stock" means a butt stock designed to be attached
to a semiautomatic firearm with the effect of increasing the rate of
fire achievable with the semiautomatic firearm to that of a fully
automatic firearm by using the energy from the recoil of the firearm
to generate reciprocating action that facilitates repeated
activation of the trigger.
    (4) "Crime of violence" means:
    (a) Any of the following felonies, as now existing or hereafter
amended: Any felony defined under any law as a class A felony or an
attempt to commit a class A felony, criminal solicitation of or
criminal conspiracy to commit a class A felony, manslaughter in the
first degree, manslaughter in the second degree, indecent liberties
if committed by forcible compulsion, kidnapping in the second
degree, arson in the second degree, assault in the second degree,
assault of a child in the second degree, extortion in the first
degree, burglary in the second degree, residential burglary, and
robbery in the second degree;




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    (b) Any conviction for a felony offense in effect at any time
prior to June 6, 1996, which is comparable to a felony classified as
a crime of violence in (a) of this subsection; and
    (c) Any federal or out-of-state conviction for an offense
comparable to a felony classified as a crime of violence under (a)
or (b) of this subsection.
    (5) "Curio or relic" has the same meaning as provided in 27
C.F.R. Sec. 478.11.
    (6) "Dealer" means a person engaged in the business of selling
firearms at wholesale or retail who has, or is required to have, a
federal firearms license under 18 U.S.C. Sec. 923(a). A person who
does not have, and is not required to have, a federal firearms
license under 18 U.S.C. Sec. 923(a), is not a dealer if that person
makes only occasional sales, exchanges, or purchases of firearms for
the enhancement of a personal collection or for a hobby, or sells
all or part of his or her personal collection of firearms.
    (7) "Family or household member" means "family" or "household
member" as used in RCW 10.99.020.
    (8) "Felony" means any felony offense under the laws of this
state or any federal or out-of-state offense comparable to a felony
offense under the laws of this state.
    (9) "Felony firearm offender" means a person who has previously
been convicted or found not guilty by reason of insanity in this
state of any felony firearm offense. A person is not a felony
firearm offender under this chapter if any and all qualifying
offenses have been the subject of an expungement, pardon, annulment,
certificate, or rehabilitation, or other equivalent procedure based
on a finding of the rehabilitation of the person convicted or a
pardon, annulment, or other equivalent procedure based on a finding
of innocence.
    (10) "Felony firearm offense" means:
    (a) Any felony offense that is a violation of this chapter;
    (b) A violation of RCW 9A.36.045;
    (c) A violation of RCW 9A.56.300;

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    (d) A violation of RCW 9A.56.310;
    (e) Any felony offense if the offender was armed with a firearm
in the commission of the offense.
    (11) "Firearm" means a weapon or device from which a projectile
or projectiles may be fired by an explosive such as gunpowder.
"Firearm" does not include a flare gun or other pyrotechnic visual
distress signaling device, or a powder-actuated tool or other device
designed solely to be used for construction purposes.
    (12) "Gun" has the same meaning as firearm.
    (13) "Law enforcement officer" includes a general authority
Washington peace officer as defined in RCW 10.93.020, or a specially
commissioned Washington peace officer as defined in RCW 10.93.020.
"Law enforcement officer" also includes a limited authority
Washington peace officer as defined in RCW 10.93.020 if such officer
is duly authorized by his or her employer to carry a concealed
pistol.
    (14) "Lawful permanent resident" has the same meaning afforded a
person "lawfully admitted for permanent residence" in 8 U.S.C. Sec.
1101(a)(20).
    (15) "Licensed collector" means a person who is federally
licensed under 18 U.S.C. Sec. 923(b).
    (16) "Licensed dealer" means a person who is federally licensed
under 18 U.S.C. Sec. 923(a).
    (17) "Loaded" means:
    (a) There is a cartridge in the chamber of the firearm;
    (b) Cartridges are in a clip that is locked in place in the
firearm;
    (c) There is a cartridge in the cylinder of the firearm, if the
firearm is a revolver;
    (d) There is a cartridge in the tube or magazine that is
inserted in the action; or
    (e) There is a ball in the barrel and the firearm is capped or
primed if the firearm is a muzzle loader.


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    (18) "Machine gun" means any firearm known as a machine gun,
mechanical rifle, submachine gun, or any other mechanism or
instrument not requiring that the trigger be pressed for each shot
and having a reservoir clip, disc, drum, belt, or other separable
mechanical device for storing, carrying, or supplying ammunition
which can be loaded into the firearm, mechanism, or instrument, and
fired therefrom at the rate of five or more shots per second.
    (19) "Nonimmigrant alien" means a person defined as such in 8
U.S.C. Sec. 1101(a)(15).
    (20) "Person" means any individual, corporation, company,
association, firm, partnership, club, organization, society, joint
stock company, or other legal entity.
    (21) "Pistol" means any firearm with a barrel less than sixteen
inches in length, or is designed to be held and fired by the use of
a single hand.
    (22) "Rifle" means a weapon designed or redesigned, made or
remade, and intended to be fired from the shoulder and designed or
redesigned, made or remade, and intended to use the energy of the
explosive in a fixed metallic cartridge to fire only a single
projectile through a rifled bore for each single pull of the
trigger.
    (23) "Sale" and "sell" mean the actual approval of the delivery
of a firearm in consideration of payment or promise of payment.
    (24) "Secure gun storage" means:
    (a) A locked box, gun safe, or other secure locked storage space
that is designed to prevent unauthorized use or discharge of a
firearm; and
    (b) The act of keeping an unloaded firearm stored by such means.
    (25) "Semiautomatic assault rifle" means any rifle which
utilizes a portion of the energy of a firing cartridge to extract
the fired cartridge case and chamber the next round, and which
requires a separate pull of the trigger to fire each cartridge.
    "Semiautomatic assault rifle" does not include antique firearms,
any firearm that has been made permanently inoperable, or any

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firearm that is manually operated by bolt, pump, lever, or slide
action.
    (26) "Serious offense" means any of the following felonies or a
felony attempt to commit any of the following felonies, as now
existing or hereafter amended:
    (a) Any crime of violence;
    (b) Any felony violation of the uniform controlled substances
act, chapter 69.50 RCW, that is classified as a class B felony or
that has a maximum term of imprisonment of at least ten years;
    (c) Child molestation in the second degree;
    (d) Incest when committed against a child under age fourteen;
    (e) Indecent liberties;
    (f) Leading organized crime;
    (g) Promoting prostitution in the first degree;
    (h) Rape in the third degree;
    (i) Drive-by shooting;
    (j) Sexual exploitation;
    (k) Vehicular assault, when caused by the operation or driving
of a vehicle by a person while under the influence of intoxicating
liquor or any drug or by the operation or driving of a vehicle in a
reckless manner;
    (l) Vehicular homicide, when proximately caused by the driving
of any vehicle by any person while under the influence of
intoxicating liquor or any drug as defined by RCW 46.61.502, or by
the operation of any vehicle in a reckless manner;
    (m) Any other class B felony offense with a finding of sexual
motivation, as "sexual motivation" is defined under RCW 9.94A.030;
    (n) Any other felony with a deadly weapon verdict under RCW
9.94A.825;
    (o) Any felony offense in effect at any time prior to June 6,
1996, that is comparable to a serious offense, or any federal or
out-of-state conviction for an offense that under the laws of this
state would be a felony classified as a serious offense; or
    (p) Any felony conviction under RCW 9.41.115.

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    (((25))) (27) "Short-barreled rifle" means a rifle having one or
more barrels less than sixteen inches in length and any weapon made
from a rifle by any means of modification if such modified weapon
has an overall length of less than twenty-six inches.
    (((26))) (28) "Short-barreled shotgun" means a shotgun having
one or more barrels less than eighteen inches in length and any
weapon made from a shotgun by any means of modification if such
modified weapon has an overall length of less than twenty-six
inches.
    (((27))) (29) "Shotgun" means a weapon with one or more barrels,
designed or redesigned, made or remade, and intended to be fired
from the shoulder and designed or redesigned, made or remade, and
intended to use the energy of the explosive in a fixed shotgun shell
to fire through a smooth bore either a number of ball shot or a
single projectile for each single pull of the trigger.
    (((28))) (30) "Transfer" means the intended delivery of a
firearm to another person without consideration of payment or
promise of payment including, but not limited to, gifts and loans.
"Transfer" does not include the delivery of a firearm owned or
leased by an entity licensed or qualified to do business in the
state of Washington to, or return of such a firearm by, any of that
entity's employees or agents, defined to include volunteers
participating in an honor guard, for lawful purposes in the ordinary
course of business.
    (((29))) (31) "Unlicensed person" means any person who is not a
licensed dealer under this chapter.


    NEW SECTION.      Sec. 17.    This act takes effect July 1, 2019,
except for section 13 of this act which takes effect January 1,
2019.


    NEW SECTION.      Sec. 18.    The director of the department of
licensing may take the necessary steps to ensure that this act is
implemented on its effective date.

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    NEW SECTION.   Sec. 19.    If any provision of this act or its
application to any person or circumstance is held invalid or
preempted by federal law, the remainder of the act or the
application of the provision to other persons or circumstances is
not affected.

                                --- END ---




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